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                    IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                                    )
KOTIS ASSOCIATES, LLC, et al.,                      )
                                                    )
                         Plaintiffs,                ) Case No. 20-932
                                                    )
v.                                                  ) Senior Judge Loren A. Smith
                                                    )
UNITED STATES OF AMERICA,                           )
                                                    )
                         Defendant.                 )


                                        NOTICE OF APPEAL

            Defendant, the United States of America, appeals to the United States Court of

  Appeals for the Federal Circuit from the judgment entered in the above-captioned case on

  April 23, 2025, ECF No. 208.


     Respectfully submitted this 20th day of June 2025.


                                                 ADAM R.F. GUSTAFSON
                                                 Acting Assistant Attorney General
                                                 United States Department of Justice
                                                 Environment & Natural Resources Division

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